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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

In re:

GILMA MARTIZA MONCADA,                                      Case No.: 15-16201-AJC

         Debtor.                                   /        Chapter 7

     MOTION PURSUANT TO RULE 9019 TO APPROVE SETTLEMENT AND
  COMPROMISE CONTROVERSY BY AND BETWEEN JACQUELINE CALDERIN,
   CHAPTER 7 TRUSTEE, HECTOR ALFONSO BARAHONA AND THE DEBTOR

                ANY INTERESTED PARTY WHO FAILS TO FILE AND SERVE A
                WRITTEN RESPONSE TO THIS MOTION WITHIN TWENTY-
                ONE (21) DAYS AFTER THE DATE OF SERVICE STATED IN
                THIS MOTION SHALL, PURSUANT TO LOCAL RULE 9013-
                1(D)(2), BE DEEMED TO HAVE CONSENTED TO THE ENTRY
                OF AN ORDER GRANTING THIS MOTION. ANY SCHEDULED
                HEARING MAY THEN BE CANCELED.

         Jacqueline Calderin, Chapter 7 Trustee (the “Trustee”) of the Bankruptcy Estate of Gilma

Martiza Moncada, (the “Debtor”), by and through undersigned counsel, files this motion

pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure and Local Rule 9013-1(D)

for entry of an order approving the settlement by and between the Trustee, Hector Alfonso

Barahona and the Debtor (the “Motion”). In support of the Motion, the Trustee states as follows:

                                   JURISDICTION AND VENUE

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S. C. §§ 157(b) and

1334.

         2.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     This is a core proceeding under 28 U.S.C. § 157 (b)(2).




                                  EHRENSTEIN CHARBONNEAU CALDERIN
 501 Brickell Key Drive ∙ Suite 300 ∙ Miami, FL 33131 ∙ T. 305.722.2002 ∙ F. 305.722.2001 ∙ www.ecclegal.com
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                                            BACKGROUND

        4.      On April 6, 2015 [ECF #1] (the “Petition Date”), the bankruptcy cases of

In re Gilma Maritza Moncada, No.: 15-16201-AJC and In re Hector Alfonso Barahona, No.: 15-

16202-AJC (collectively, the “Bankruptcy Cases”), were commenced when Hector Alfonso

Barahona and the Debtor (collectively, the “Debtors”) filed individual voluntary petitions for

relief under Chapter 7 of Title 11 of the United States Code.

        5.      The § 341 Meeting of Creditors was held and concluded on May 6, 2015 at

2:30 p.m. [ECF#’s 2 and 14].

        6.      The Debtors are not married but have resided together for approximately 20 years

and have two children together. Accordingly, the Debtors have filed separate bankruptcy

petitions but share the majority of their personal property including bank accounts, vehicles and

household goods. The Trustee and her professionals reviewed the Debtors’ Schedules as well as

additional documents and records supplied by them. The Debtors claimed certain personal

property as exempt under section 222.25(4), Florida Statutes (the “Claimed Exemptions”).

        7.      The Trustee has alleged that the value of Debtors’ personal property exceeds the

exemption caps allowable under F.S.A. 222.25 et seq.

        8.      The Trustee and the Debtors have conferred to discuss their respective positions

and have otherwise negotiated in good faith. The Trustee and the Debtors have agreed to settle

the Trustee's claims in order to allow the Debtors to retain their personal property and in order to

avoid the uncertainties and expense of litigation (the "Settlement").

                                    PROPOSED STIPULATIONS

        9.      Accordingly, the Trustee and the Debtors have agreed to settle all matters

between them pursuant to the terms set forth in the Joint Settlement Agreement (the

“Agreement”), a copy of which is attached hereto as Exhibit “A” and fully incorporated herein
                                              2
                                  EHRENSTEIN CHARBONNEAU CALDERIN
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by reference. Approval of the Agreement is being sought contemporaneously in both Debtors’

cases.

         10.     Pursuant to the Agreement, Debtors shall pay the Trustee in the form of a money

order or a cashier’s check payable to “Jacqueline Calderin, Trustee, for the benefit of the Estate”,

the total sum of Four Thousand Dollars and 00/100 ($4,000.00) (the “Payments”), over ten (10)

months in the amount of $400.00 per month or provide a lump sum payment in the amount of

Three Thousand Five Hundred Dollars and 00/100 ($3,500.00) on or before July 30, 2015

(the “Total Settlement Amount”). The Total Settlement Amount shall be allocated to the

following non-exempt assets in each of the Debtors’ cases as follows:

   In re Gilma Maritza Moncada, No.: 15-16201-AJC
     Scheduled                               Property Description                             Amount
       B-13         Moncada Services, Inc.                                                 $ 250.00
        B-4         Household Goods                                                        $1,000.00

   In re Hector Alfonso Barahona, No.: 15-16202-AJC
     Scheduled                               Property Description                             Amount
         B-3        Security Deposit                                                       $1,000.00
         B-13       Moncada Services, Inc.                                                 $ 250.00
         B-4        Household Goods                                                        $1,500.00

         11.     The Payments or Total Settlement Amount shall be delivered to the Trustee’s

counsel’s office at 501 Brickell Key Drive, Suite 300, Miami, Florida 33131. The checks must

clearly state the name of the Debtors and the case numbers.

         12.     Pursuant to Paragraph 5 of the Agreement, if the Debtors default in timely

remitting the Payments as set forth above or otherwise default in any other provision set forth in

this Agreement, then the Trustee shall notify the Debtors of such default immediately in writing

by U.S. Mail or Electronic Mail to counsel for the Debtors. If the Debtors do not cure the default

within five (5) days of such notice from the Trustee, then the Trustee shall be entitled to (i)

commence litigation against the Debtors, (ii) the entry of a final judgment against the Debtors for

                                                      3
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 501 Brickell Key Drive ∙ Suite 300 ∙ Miami, FL 33131 ∙ T. 305.722.2002 ∙ F. 305.722.2001 ∙ www.ecclegal.com
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the Total Settlement Amount and the Trustee’s reasonable fees and costs incurred in enforcing

this Agreement upon motion and notice; and (iii) file objections, motions for reconsideration, or

turnover actions as are appropriate and Paragraph 4 of this Agreement shall become null and

void. Additionally, in the event the Debtors fail to make the aforesaid Payments on a timely

basis, the Trustee shall be entitled to a revocation of each of the Debtors’ discharges by motion

pursuant to Rule 9024, Fed. R. Bank. P., and the Debtors explicitly waive the requirement of an

adversary proceeding for such matter.

                                         BASIS FOR RELIEF

        13.     This Motion and the Agreement should be approved because the Total Settlement

Amount will provide a distribution to creditors that would not otherwise be available without the

costs to the creditors or the estate otherwise associated with the recovery of the value of the

Debtors’ non-exempt assets. As such, the Agreement is fair and equitable and is in the best

interests of the estate and its creditors. In addition to approval of the Settlement, the Trustee

seeks a finding from the Court that notice upon all appearances of record and creditors who have

filed proofs of claim or who have asserted an interest in the Debtor’s estate is sufficient notice to

parties, pursuant to Local Rule 2002-1.

        14.     Pursuant to F.R.B.P. 9019(a), the Court may approve a compromise or settlement.

Approval of a settlement in bankruptcy proceedings is within the sound discretion of the court

and will not be disturbed or modified on appeal unless approval or disapproval is an abuse of

discretion. See In re Arrow, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla. 1988). In determining the

reasonableness of a settlement, the test is whether the proposed settlement "falls below the

lowest point in the range of reasonableness." Id. at 891.

        15.     The legal standard for approval of settlements in the Eleventh Circuit is set forth

in In re Justice Oaks, II, Ltd., 898 F.2d 1544, 1549 (11th Cir. 1990) cert. denied, 498 U.S. 959
                                                4
                                  EHRENSTEIN CHARBONNEAU CALDERIN
 501 Brickell Key Drive ∙ Suite 300 ∙ Miami, FL 33131 ∙ T. 305.722.2002 ∙ F. 305.722.2001 ∙ www.ecclegal.com
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(1990). Justice Oaks requires that the Court consider the: (1) the probability of success in

litigation; (2) the difficulties, if any, to be encountered in the matter of collection; (3) the

complexity of the litigation involved and the expense, inconvenience, and delay necessarily

attending it; and (4) paramount interest of the creditors and a proper deference to their reasonable

views in the premises. Based on the forgoing, the Trustee believes that the Agreement satisfies

the Justice Oaks standard and is in the best interest of the Estate.

        16.       In addition to approval of the Agreement, the Trustee seeks a finding from the

Court that notice upon all appearances of record, creditors who have filed proofs of claim, or

who have asserted an interest in the Debtor's estate is sufficient notice pursuant to Local Rule

2002-1.

        WHEREFORE, the Trustee, Jacqueline Calderin, respectfully requests that this Court

enter an order; (a) granting the Motion; (b) approving the terms of the Agreement described

herein; and (c) granting any further relief as the Court deems appropriate.

                  I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
        Southern District of Florida and I am in compliance with the additional qualifications to practice in this
        Court set forth in Local Rule 2090-1(A).

                                                EHRENSTEIN CHARBONNEAU CALDERIN
                                                Counsel for Chapter 7 Trustee
                                                501 Brickell Key Drive, Suite 300
                                                Miami, Florida 33131
                                                T. 305.722.2002      F. 305.722.2001

                                                By:       /s/ Nicole Grimal Helmstetter
                                                          Nicole Grimal Helmstetter, Esq.
                                                          Florida Bar No: 86937
                                                          ngh@ecclegal.com




                                                              5
                                  EHRENSTEIN CHARBONNEAU CALDERIN
 501 Brickell Key Drive ∙ Suite 300 ∙ Miami, FL 33131 ∙ T. 305.722.2002 ∙ F. 305.722.2001 ∙ www.ecclegal.com
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the forgoing was served by

transmission of Notices of Electronic Filing generated by CM/ECF to those parties registered to

receive electronic notices of filing in this case and to the parties listed on the creditor matrix on

July   "2-e::' 2015.
                                        EHRENSTEIN CHARBONNEAU CALDERIN
                                        Counsel for Chapter 7 Trustee
                                        501 Brickell Key Drive, Suite 300
                                        Miami, Florida 33131
                                        T. 305.722.2002      F. 305C      000


                                        By:       ~/                           ~
                                                 Nicole Grimal Helmstetter, Esq.
                                                 Florida Bar No: 86937
                                                 ngh@ecclegal.com

15-16201-AJC Notice will be electronically mailed to:

Jacqueline Calderin
calderintrustee@gmail.com, j calderin@ecf.epiq systems.com;yruiz@ecclegal. com

Jacqueline Calderin on behalf of Trustee Jacqueline Calderin
calderintrustee@gmail.com, jcalderin@ecf.epiqsystems.com;yruiz@ecclegal.com

Nicole M Grimal on behalf of Trustee Jacqueline Calderin
ng@ecclegal.com, nsocorro@ecclegal.com;bankruptcy@ecclegal.com

Nicole Grimal Helmstetter on behalf of Trustee Jacqueline Calderin
ngh@ecclegal.com, bankruptcy@ecclegal.com;nsocorro@ecclegal.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj .gov

Robert Sanchez, Esq on behalf of Debtor Gilma Maritza Moncada
court@bankruptcyclinic.com, courtECFmail@gmail.com




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                                  EHRENSTEIN CHARBONNEAU CALCI::~IN
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Label Matrix for local noticing               Bby/Cbna                                       (p)BANK OF AMERICA
113C-1                                        50 Northwest Point Road                        PO BOX 982238
Case 15-16201-AJC                             Elk Grove Village, IL 60007-1032               EL PASO TX 79998-2238
Southern District of Florida
Miami
Mon May 11 12:15:51 EDT 2015
Cap One                                       Cap1/Bstby                                     Carico International
26525 N Riverwoods Blvd                       26525 N Riverwoods Blvd                        2851 W Cypress Creek Rd
Mettawa, IL 60045-3440                        Mettawa, IL 60045-3440                         Fort Lauderdale, FL 33309-1781



Ccmk/Cbna                                     Central Finl Control                           Chase Card
Po Box 6497                                   Po Box 66044                                   Po Box 15298
Sioux Falls, SD 57117-6497                    Anaheim, CA 92816-6044                         Wilmington, DE 19850-5298



Comenity Bank/Vctrssec                        Mcydsnb                                        Office of the US Trustee
220 W Schrock Rd                              9111 Duke Blvd                                 51 S.W. 1st Ave.
Westerville, OH 43081-2873                    Mason, OH 45040-8999                           VIA CM/ECF
                                                                                             Suite 1204
                                                                                             Miami, FL 33130-1614


Portfolio Recovery Ass                        Portfolio Recovery Associates                  Radio/Cbna
120 Corporate Blvd Ste 1                      c/o Federick J. Hanna & Associates, PC         Po Box 6497
Norfolk, VA 23502-4962                        7901 SW 6 Court #310                           Sioux Falls, SD 57117-6497
                                              Fort Lauderdale, FL 33324-3283


Sears/Cbna                                    Sears/Cbna                                     Syncb/Brandsmart
Po Box 6189                                   Po Box 6283                                    Po Box 965036
Sioux Falls, SD 57117-6189                    Sioux Falls, SD 57117-6283                     Orlando, FL 32896-5036



Syncb/Care Credit                             Syncb/Toysrusdc                                Target Nb
Po Box 965036                                 Po Box 965005                                  Po Box 673
Orlando, FL 32896-5036                        Orlando, FL 32896-5005                         Minneapolis, MN 55440-0673



Td Bank Usa/Targetcred                        Thd/Cbna                                       Tnb - Target
Po Box 673                                    Po Box 6497                                    Po Box 673
Minneapolis, MN 55440-0673                    Sioux Falls, SD 57117-6497                     Minneapolis, MN 55440-0673



Wffnatbank                                    Gilma Maritza Moncada                          Jacqueline Calderin
Po Box 94498
Las Vegas, NV 89193-4498
                                              2901 NW 95 Terrace
                                              Miami, FL 33147-2329
                                                                                             VIA CM/ECF
                                                                                             247 SW 8 St # 880
                                                                                             Miami, FL 33130-3529



Robert Sanchez Esq
VIA      CM/ECF
355 W 49 St.
Hialeah, FL 33012-3715
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                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bk Of Amer
Po Box 982235
El Paso, TX 79998




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                              End of Label Matrix
                                                      Mailable recipients    27
                                                      Bypassed recipients     1
                                                      Total                  28
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                                  EXHIBIT “A”
                            SETTLEMENT AGREEMENT




                                 EHRENSTEIN CHARBONNEAU CALDERIN
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                             JOINT SETTLEMENT AGREEMENT

       THIS JOINT SETTLEMENT AGREEMENT (hereafter, the "Agreement") is made

and entered into by and between Gilma Martiza Moncada and Hector Alfonso Barahona

(collectively, the "Debtors") and Jacqueline Calderin, as Chapter 7 Trustee of the bankruptcy

estates of Gilma Martiza Moncada and Hector Alfonso Barahona (the "Trustee", and together

with the Debtors, the "Parties" and each individually a "~").

                                           RECITALS

       A.        On or about April 6, 2015 [ECF #I] (the "Petition Date"), the bankruptcy cases of

In re Gilma Maritza Moncada, No.: 15-16201-AJC and In re Hector Alfonso Barahona, No.: 15-

16202-AJC (collectively, the "Bankruptcy Cases''), were commenced when the Debtors filed

individual voluntary petitions for relief under Chapter 7 ofTitle 11 ofthe United States Code.

       B.        The § 341 Meeting of Creditors was held and concluded on May 6, 2015 at

2:30p.m. [ECF#'s 2 and 14].

       C.        The Debtors are not married and have filed separately but share the majority of

their personal property. The Trustee and her professionals reviewed the Debtors' Schedules as

well as additional documents and records supplied by the Debtors. The Debtors claimed certain

personal property as exempt under section 222.25(4), Florida Statutes (the "Claimed

Exemptions'').

       D.        The Trustee has alleged that the value of Debtors' personal property exceeds the

exemption caps allowable under F.S.A. 222.25 el seq.

       E.        The Trustee and the Debtors have conferred to discuss their respective positions

and have otherwise negotiated in good faith. The Trustee and the Debtors have agreed to settle

the Trustee's claims in order to allow the Debtors to retain their personal property and in order to

avoid the uncertainties and expense of litigation (the "Settlemenf').



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          NOW, THEREFORE, in consideration of the foregoing facts and the tenns, agreements,

representations, and covenants set forth herein, the receipt and sufficiency of which are hereby

acknowledged, the Parties agree as follows:

                                               AGREEMENT

          1.      Recitals. The foregoing recitals are true and correct and are incorporated into this

Settlement Agreement by reference.

          2.      ApprovaL The Parties acknowledge and agree that this Settlement is subject to

the approval ofthe Bankruptcy Court by means of a final order, and therefore will not be binding

until such order has been entered (the "Final Order").               Following the execution of this

Settlement, the Trustee shall file a motion pursuant to Bankruptcy Rule 9019(a) in each of the

Debtors' respective case, seeking Bankruptcy Court approval of this Settlement on negative

notice.

          3.      Payment. The Debtors shall pay the Trustee in the fonn of a money order or a

cashier's check payable to ''Jacqueline Calderin, Trustee, for the benefit of the Estate", the total

sum of Four Thousand Dollars and 00/100 ($4,000.00) (the "Payments"), over ten ( 10) months in

the amount of $400.00 per month or provide a lump sum payment in the amount of Three

Thousand Five Hundred Dollars and 001100 ($3,500.00) on or before July 30, 20 I 5 (the "Total

Settlement Amount"). The Total Settlement Amount shall be allocated to the following non-

exempt assets as follows:

    In re GJ/ma Marilza Moncada, No.: 15-16201-AJC
     Scheduled                                Pronerty Destrlptlon                      Amount
          B-13       Moncada Services, Inc.                                          $ 250.00
          B-4        Household Goods                                                 $1,000.00

    In re Hedor Alfonso Baraltona, No.: 15-16202-AJC
     Scheduled                                Property Description                      Amount
           B-3       Security Deposit                                                $1,000.00
          8-13       Moncada Services, Inc.                                          $ 250.00
           B-4       Household Goods                                                 $1,500.00



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                                                   Page 2 of7
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The Payments or Total Settlement Amount shall be delivered to Trustee's counsel's office at SOl

Brickell Key Drive, Suite 300, Miami, Florida 33131. The check must clearly state the name

of the Debtors and the case numbers.

          4.      No Action. Upon entry of the Final Order by the Bankruptcy Court approving

this Settlement and receipt of the Total Settlement Amount, the Trustee agrees that she will not

commence or will withdraw without prejudice, any pending actions seeking turnover of any of

the Debtors' personal property, challenging claimed exemptions recovery of the transfers,

seeking revocation of their discharge, or seeking to dismiss their Bankruptcy Cases or convert

the cases to cases under Chapter 11 or Chapter 13 ofthe Bankruptcy Code.

          S.      Default. Should the Debtors default in timely remitting the Payments as set forth

above or otherwise default in any other provision set forth in this Settlement, then the Trustee

shall notify the Debtors of such default immediately in writing by U.S. Mail or Electronic Mail

to counsel for the Debtors. If the Debtors do not cure the default within five (5) days of such

notice from the Trustee, then the Trustee shall be entitled to (i) commence litigation against the

Debtors, (ii) the entry of a final judgment against the Debtors for the Total Settlement Amount

and the Trustee's reasonable fees and costs incurred in enforcing this Settlement upon motion

and notice; and (iii) file objections, motions for reconsideration, or turnover actions as are

appropriate and Paragraph 4 of this Agreement shall become null and void. Additionally, in the

event the Debtors fail to make the aforesaid Payments on a timely basis, the Trustee shall be

entitled to a revocation of the Debtors' discharge by motion pursuant to Rule 9024, Fed. R.

Bank. P., and the Debtors explicitly waive the requirement of an adversary proceeding for such

matter.

          6.      Mutual Release. Upon entry of the Final Order, the Debtors will release and

discharge the Trustee, her attorneys, and other professionals (in their capacities as representatives



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of the Trustee), her employees, agents, subsidiaries, affiliates, predecessors, successors and

assigns, and all other persons or entities acting on her behalf or at her discretion or control from

any and all claims and causes of action, of any nature or type, whether known or unknown,

arising out of, or related to the Bankruptcy Case or this Agreement. In addition, upon entry of

the Final Order and after receipt of the Total Settlement Amount, the Trustee will release and

discharge the Debtors and their professionals, employees, agents, subsidiaries, affiliates,

predecessors, successors and assigns, and all other persons or entities acting on the Parties'

behalf or at their discretion or control from any and all claims and causes of action, of any nature

or type, whether known or unknown, arising out of, or related to their Bankruptcy Cases.

       7.        Binding on Successors, Assigns. and Others. This Settlement and the covenants

and conditions contained herein shall apply to and be jointly and severally binding upon the

Parties hereto and their respective heirs, executors, administrators, conservators, plan

administrators, agents, trustees, legal representatives, servants, employees, committees,

beneficiaries, predecessors, successors, attorneys, insurers, transferees, and assigns of the Parties.

        8.        Reinstatement of Proceedings.      If :the Settlement is not approved by the

Bankruptcy Court, (i) the Parties shall possess all claims, rights, and defenses that they possessed

prior to executing this Settlement, and (ii) the Trustee shall be entitled to file an objection to the

Debtors exemptions and motion for turnover.

        9.        Attorneys' Fees and Costs. Each Party shall bear its own costs, expenses, and

attorneys' fees incurred to date in connection with the Bankruptcy Case, including, but not

limited to the preparation and filing ofthis Settlement.

        10.       Advice of Counsel. The Parties acknowledge that they have been represented by

counsel of their own choice or given the opportunity to be represented by counsel in the

negotiations leading up to the execution of this Settlement. The Parties further represent that


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they have read this Settlement and have had the opportunity to receive an explanation from legal

counsel regarding the legal nature and effect of this Settlement, and each Party has had the

opportunity to have the Settlement fully explained to them by their counsel and understands the

tenns and provisions of this Settlement and its nature and effect. Each Party further represents

that it is entering into this Settlement freely and voluntarily, and not relying on the representation

of any other Party or of counsel for any other Party.

        11.     Entire Understanding.     This Settlement has been prepared after negotiations

between the Parties and contains the entire understanding and agreement between and among the

Parties with respect to the matters herein referenced.       No other representations, covenants,

undertakings, or other prior or contemporaneous agreements, whether verbal or written,

respecting such matters, which are not specifically incorporated herein, shall be deemed in any

way to exist or bind any of the Parties hereto. The Parties further acknowledge that neither Party

has executed this Settlement in reliance on any promise, representation, nor warranty not

expressly contained in this Settlement.

        12.     Counterparts and Facsimiles.       This Settlement may be executed in several

counterparts, all of which shall constitute one agreement, which agreement shall be binding upon

all Parties notwithstanding that all Parties' signatures do not appear on the same page. Any

signature in counterpart provided by email on this Settlement shall be deemed an original

signature.

        13.     Governing Law. This Settlement will be interpreted and construed under the laws

of the State of Florida regardless of the domicile of     any party,   and will be deemed for such

purposes to have been made, executed, and performed in the State of Florida.




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       14.     Construction.    This Settlement shall be construed as if the Parties jointly

participated in the preparation of this Settlement and any uncertainty and/or ambiguity shall not

be interpreted against any one Party.

       15.     Jurisdiction and Venue. The United States Bankruptcy Court for the Southern

District of Florida, Miami Division, shall retain jurisdiction to enforce the terms of this

Settlement. Venue relating to this Settlement shall be proper in the United States Bankruptcy

Court for the Southern District of Florida, Miami Division.

       16.     Notices. All demands, notices, requests or other communications required or

permitted hereby shall be in writing, and shall be deemed to have been given (i) when hand

delivered to the applicable addresses provided below, (ii) on first attempted delivery at the

applicable addresses provided below by United States certified mail or a reputable delivery

service that is able to track the delivery of such notices or communications, (iii) when a facsimile

confirmation receipt is received by the sender, if sent via facsimile, to the applicable facsimile

numbers provided below, (iv) when received via email, or (v) at such different address or

facsimile numbers as the Trustee or the Debtors shall hereafter specify by written notice as

provided herein.

       If to Trustee:                   Nicole Grima) Helmstetter, Esq.
                                        Ehrenstein Charbonneau Calderin
                                        501 Brickell Key Drive, Ste. 300
                                        Miami, Florida 33131
                                        T. 305.722.2002      F. 305.722.2001
                                        ngh@ecclegal.com


        If to the Debtors:              Jose A. Blanco, Esq.
                                        Robert Sanchez & Associates, P.A.
                                        355 West 49th Street
                                        Hialeah, FL 33012
                                        T. 305.687.8008      F. 305.512.9701
                                        jblanco@bankruptcyclinic.com




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        I 7.    Authority. Each of the Parties to this Stipulation hereby represents and warrants

that it has full authority and power to execute, deliver, and perform this Settlement and

consummate all of the transactions herein contained.

        18.     Time of the Essence. Time is declared to be of the essence of this Settlement and

of every part hereof.

        19.     No Admission of Liabilitv. Each of the Parties understands and agrees that this is

a compromise of disputed claims made in order to avoid the significant costs and uncertainties of

litigation and that the promises made in consideration ofthis Settlement shall not be construed to

be an admission of any liability or facts whatsoever by any Party. By executing this Settlement,

the Parties expressly deny any liability or fault related to their dispute.

       20.      Modification.     No waiver or modification of a term or condition of this

Agreement shall be valid or binding, unless it is in writing and executed by each of the Parties to

this Settlement.

       IN WITNESS WH EREOF, the Parties hereto have agreed to the terms set forth herein.

       Signed, sealed and delivered:



                                  , 2015
                                            By:     Gilma Ma11iza Moncada, Debtor



        Date:      -:rl I 5" I /5-   2015
                                            By:     Hector Alfonso Barahona, Debtor



        Date:""J.A"'-l      {A) , 2015
                                            By:




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                                   EXHIBIT “B”
                                 PROPOSED ORDER




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:

GILMA MARTIZA MONCADA,                                Case No.: 15-16201-AJC

         Debtor.                              /       Chapter 7

    ORDER APPROVING MOTION PURSUANT TO RULE 9019 TO APPROVE
SETTLEMENT AND COMPROMISE BY AND BETWEEN JACQUELINE CALDERIN,
  CHAPTER 7 TRUSTEE, HECTOR ALFONSO BARAHONA AND THE DEBTOR

         THIS MATTER came before the Court upon the motion of Jacqueline Calderin, Chapter

7 Trustee (the “Trustee”) of the estate of Gilma Martiza Moncada (the “Debtor”), pursuant to

Rule 9019 of the Federal Rules of Bankruptcy Procedure and Local Rule 9013-1(D) [ECF#             ]

(the “Motion”) and upon the filing of a Certificate of No Response or Settlement [ECF # ] filed

by the Trustee in conjunction with the negative notice provisions set forth in the Motion.

The Court, having reviewed the Motion, having taken judicial notice of the Court record in its

entirety, finds that no objections to the Motion have been filed, that sufficient and proper notice
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of the Motion was served on creditors and parties in interest, that the Settlement 1 is reasonable

and in the best interests of creditors and that estate, and finding good cause to approve the

Settlement, accordingly, the Court does ORDER as follows:

            1.       The Motion is GRANTED.

            2.       The Settlement under the terms set forth in the Motion is APPROVED. Upon

entry of this order, The Debtors shall pay the Trustee in the form of a money order or a cashier’s

check payable to “Jacqueline Calderin, Trustee, for the benefit of the Estate”, the total sum of

Four Thousand Dollars and 00/100 ($4,000.00) (the “Payments”), over ten (10) months in the

amount of $400.00 per month or provide a lump sum payment in the amount of Three Thousand

Five Hundred Dollars and 00/100 ($3,500.00) on or before July 30, 2015 (the “Total Settlement

Amount”). The Total Settlement Amount shall be allocated to the following non-exempt assets

as follows:

       In re Gilma Maritza Moncada, No.: 15-16201-AJC
         Scheduled                               Property Description                                  Amount
           B-13         Moncada Services, Inc.                                                      $ 250.00
            B-4         Household Goods                                                             $1,000.00

       In re Hector Alfonso Barahona, No.: 15-16202-AJC
         Scheduled                               Property Description                                  Amount
            B-3         Security Deposit                                                            $1,000.00
            B-13        Moncada Services, Inc.                                                      $ 250.00
            B-4         Household Goods                                                             $1,500.00

            3.       The Payments or Total Settlement Amount shall be delivered to Trustee’s

counsel’s office at 501 Brickell Key Drive, Suite 300, Miami, Florida 33131. The check must

clearly state the name of the Debtors and the case numbers.

            4.       Pursuant to Paragraph 5 of the Agreement, if the Debtors default in timely

remitting the Payments as set forth above or otherwise default in any other provision set forth in


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    Any and all capitalized terms not expressly defined herein, shall bear the meaning ascribed to them in the Motion.


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this Settlement, then the Trustee shall notify the Debtors of such default immediately in writing

by U.S. Mail or Electronic Mail to counsel for the Debtors. If the Debtors do not cure the default

within five (5) days of such notice from the Trustee, then the Trustee shall be entitled to (i)

commence litigation against the Debtors, (ii) the entry of a final judgment against the Debtors for

the Total Settlement Amount and the Trustee’s reasonable fees and costs incurred in enforcing

this Settlement upon motion and notice; and (iii) file objections, motions for reconsideration, or

turnover actions as are appropriate and Paragraph 4 of this Agreement shall become null and

void. Additionally, in the event the Debtors fail to make the aforesaid Payments on a timely

basis, the Trustee shall be entitled to a revocation of the Debtors’ discharge by motion pursuant

to Rule 9024, Fed. R. Bank. P., and the Debtors explicitly waive the requirement of an adversary

proceeding for such matter.

        5.       The Trustee is authorized to take any and all actions and execute any and all

documents necessary to effectuate the terms of the Settlement.

        6.       The Court reserves jurisdiction to enforce the terms of this Order and the

Settlement.

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SUBMITTED BY:
Nicole Grimal Helmstetter
Florida Bar No: 86937
ngh@ecclegal.com
EHRENSTEIN CHARBONNEAU CALDERIN
Counsel for Trustee
501 Brickell Key Drive, Suite 300
Miami, Florida 33131
T. 305.722.2002      F. 305.722.2001

(Copy furnished to Attorney Helmstetter, who is directed to serve a copy of this Order upon all interested parties)




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